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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10          AMAZON CONTENT SERVICES                           CASE NO. C20-1048 MJP
            LLC, et al.,
11                                                            MINUTE ORDER
                                   Plaintiffs,
12
                   v.
13
            KISS LIBRARY, et al.,
14
                                   Defendants.
15

16
            The following minute order is made by the direction of the court, the Honorable Marsha
17
     J. Pechman, United States District Judge:
18
            Plaintiffs are ordered to provide the Court with an update as to the status of litigation in
19
     this case. The response is due by no later than November 3, 2020.
20
            The clerk is ordered to provide copies of this order to all counsel.
21
            Filed October 27, 2020.
22

23                                                   William M. McCool
                                                     Clerk of Court
24


     MINUTE ORDER - 1
             Case 2:20-cv-01048-MJP Document 16 Filed 10/27/20 Page 2 of 2




 1
                                          s/Paula McNabb
 2                                        Deputy Clerk

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     MINUTE ORDER - 2
